






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-01-00327-CV






Francisco Murillo Gonzales, Appellant



v.



Intelecom, Inc., Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 200TH JUDICIAL DISTRICT


NO. GN002419, HONORABLE SUZANNE COVINGTON, JUDGE PRESIDING 






PER CURIAM

	Appellant Francisco Murillo Gonzales, through his counsel of record, has informed
this Court that he is unable to further pursue his appeal, that he has instructed the district court clerk
that a clerk's record should not be prepared, and that dismissal of his appeal is appropriate.  We
construe appellant's correspondence as a motion to dismiss and accordingly, dismiss the appeal.  See
Tex. R. App. P. 42.1(a)(2). 


Before Chief Justice Aboussie, Justices B. A. Smith and Puryear

Dismissed on Appellant's Motion

Filed:   September 13, 2001

Do Not Publish


